                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

 UNITED STATES OF AMERICA,                       )
                                                 )
              Plaintiff,                         )
                                                 )
 v.                                              )      No.: 3:10-CR-84-6-TAV-CCS
                                                 )
 AARON BLAKE KEISLER,                            )
                                                 )
              Defendant.                         )


                                        ORDER

       This matter is before the Court on the Defendant’s pro se motion for jail credit

 [Doc. 172]. On August 1, 2011, Defendant was sentenced by this Court to a 46-month

 term of imprisonment for aiding and abetting pharmacy robbery [Doc. 157]. At the time

 the federal sentence was imposed, Defendant was under the primary jurisdiction of state

 authorities in Tennessee, and in federal custody pursuant to a writ [Doc. 19]. Following

 sentencing, Defendant was returned to state authorities in Tennessee and the United

 States District Court judgment was filed as a detainer. On October 6, 2011, Defendant

 was sentenced by the State of Tennessee to an 8-year term of imprisonment for

 aggravated robbery [Doc. 166].

       On December 10, 2012, this Court entered an order amending the judgment in this

 case to reflect that Defendant’s federal sentence in this case “commenced on August 1,

 2011, and is to run concurrent with the sentence imposed in Case No. 95111 in the

 Criminal Court for Knox County, Tennessee” [Doc. 167].




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       Defendant is requesting that he be given credit for the time spent in federal

 custody prior to the date of his sentencing on August 1, 2011 [Doc. 172].

       Credit for time served is governed by 18 U.S.C. § 3585(b). Credit is given for any

 time spent in official detention when an inmate is detained pursuant to a detention order

 which conforms to 18 U.S.C. §3142(i)(2); however, the power to grant credit for time

 served lies solely with the Attorney General of the United States and the Bureau of

 Prisons. 18 U.S.C. § 3585(b); see also United States v. Brown, 417 Fed. Appx. 488, 493

 (6th Cir. 2011) (“awarding credit for time served is the exclusive responsibility of the

 Bureau of Prisons”); United States v. Wilson, 503 U.S. 329, 333-34 (6th Cir. 1992).

       Since the Attorney General of the United States and the Bureau of Prisons have

 the sole authority to award credit for time served, Defendant’s motion [Doc. 172] is

 DENIED.

       IT IS SO ORDERED.



                                   s/ Thomas A. Varlan
                                   CHIEF UNITED STATES DISTRICT JUDGE




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